    Case 2:23-cv-02224-SHL-atc          Document 443        Filed 07/03/25     Page 1 of 2
                                        PageID 6168


                  IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF TENNESSEE
                             WESTERN DIVISION
______________________________________________________________________________

ROWVAUGHN WELLS, individually and )
as Administratrix Ad Litem of the Estate of )
TYRE DEANDRE NICHOLS, deceased,             )
                                            )
        Plaintiff,                          )
                                            )
v.                                          )   No. 2:23-cv-02224-SHL-atc
                                            )
THE CITY OF MEMPHIS, a municipality, )
et al.,                                     )
                                            )
        Defendants.                         )
______________________________________________________________________________

             ORDER DENYING MOTION FOR PROTECTIVE ORDER
______________________________________________________________________________

       Before the Court by Order of Reference 1 is Defendant City of Memphis’s (“the City”)

Motion for Protective Order, filed June 2, 2025. (ECF No. 422.) Plaintiff RowVaughn Wells

responded in opposition on June 20, 2025. (ECF No. 437.) A hearing was held on July 3, 2025.

(ECF No. 442.) For the reasons discussed at the hearing and as set forth below, the Motion is

DENIED.

       The City seeks relief from its obligation to produce documents responsive to Nos. 129‒

133 of Wells’s Sixth Set of Requests for Production (“RFP,” ECF No. 324-1). As to RFP

No. 133, the City has previously been ordered to produce information related to 880 incidents

reviewed by Department of Justice (“DOJ”) investigators in preparing the DOJ Report dated

December 4, 2024. (See ECF No. 388.) At the hearing, the City communicated that its




1
 United States District Judge Mark S. Norris referred the Motions to the undersigned for
determination or proposed findings and recommendation, as appropriate, on June 3, 2025. (ECF
No. 423.)
     Case 2:23-cv-02224-SHL-atc          Document 443        Filed 07/03/25      Page 2 of 2
                                         PageID 6169


production of that information is now complete and that its Motion as to RFP No. 133 is now

moot. The Motion as to RFP No. 133 is therefore denied as moot.

       As to RFP Nos. 129‒132, the City asserts that the withdrawal of the DOJ Report renders

its communications with DOJ investigators “wholly irrelevant to this case.” (ECF No. 422, at 6.)

As Wells argues, however, “it is reasonable to believe that communications between a federal

agency conducting an investigation of a city and city employees would contain statements from

city employees that are admissions/descriptions of the practices the agency was investigating.”

(ECF No. 437, at 13.) Such admissions or descriptions are likely relevant to Wells’s Monell

claims, regardless of the outcome of that investigation. Thus, to the extent the City seeks

protection against producing documents responsive to RFP Nos. 129‒132 based on the

withdrawal of the DOJ Report, that motion is denied.

       At the hearing, however, the City indicated that its communications with DOJ responsive

to RFP Nos. 129‒131 were almost entirely logistical and, in fact, largely occurred through

counsel for the City. Wells further indicated that the parties are in ongoing discussions about the

production of those communications. As to RFP No. 132, which seeks documents sufficient to

identify the City employees interviewed by DOJ, the parties agreed that identification of such

employees is a more efficient route to producing that information than document production. In

light of these ongoing discussions and agreements, the Court will not order production of

documents responsive to RFP Nos. 129‒132 at this time, to allow those discussions to continue.

       SO ORDERED this 3rd day of July, 2025.

                                             s/Annie T. Christoff
                                             ANNIE T. CHRISTOFF
                                             UNITED STATES MAGISTRATE JUDGE




                                                    2
